         Case 2:05-cr-00231-JCC         Document 1227        Filed 04/21/09     Page 1 of 3




01

02

03

04

05

06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR05-231-JCC
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   BRITT ANDERSON,                      )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on supervised release revocation in this case was scheduled before me

15 on April 21, 2009. The United States was represented by AUSA Bruce Miyake and the defendant

16 by Howard Ratner. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about October 6, 2006 by the Honorable John C.

18 Coughenour on a charge of RICO Conspiracy, and sentenced to 30 months custody, 3 years

19 supervised release. (Dkt. 1126.)

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant participate in a substance abuse program, submit to search, provide

22 access to financial information and be prohibited from associating with any known outlaw


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
           Case 2:05-cr-00231-JCC        Document 1227         Filed 04/21/09      Page 2 of 3




01 motorcycle gang members or wearing any outlaw motorcycle club emblems or support

02 paraphernalia.

03          In an application dated March 19, 2009 (Dkt. 1222), U.S. Probation Officer Jerrod Akins

04 alleged the following violations of the conditions of supervised release:

05          1.      Committing the crime of negligent driving on March 25, 2008, in violation of the

06 general condition that he not commit another federal, state or local crime.

07          2.      Failing to report law enforcement contact on March 5, 2009, within 72 hours as

08 instructed, in violation of standard condition No. 11.

09          3.      Associating with a convicted felon, Scott Baker, on March 12, 2009, without

10 permission, in violation of standard condition No. 9.

11          4.      Associating with a person engaged in criminal activity on March 12, 2009, in

12 violation of standard condition No. 9.

13          Defendant was advised in full as to those charges and as to his constitutional rights.

14          Defendant admitted the alleged violations and waived any evidentiary hearing as to

15 whether they occurred.

16          I therefore recommend the Court find defendant violated his supervised release as

17 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

18 hearing will be set before Judge Coughenour.

19 / / /

20 / / /

21 / / /

22 / / /


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
         Case 2:05-cr-00231-JCC         Document 1227         Filed 04/21/09      Page 3 of 3




01         Pending a final determination by the Court, defendant has been released on the conditions

02 of supervision.

03         DATED this 21st day of April, 2009.



                                                 A
04

05                                               Mary Alice Theiler
                                                 United States Magistrate Judge
06

07

08 cc:     District Judge:               Honorable John C. Coughenour
           AUSA:                         Bruce Miyake
09         Defendant’s attorney:         Howard Ratner
           Probation officer:            Jerrod Akins
10

11

12

13

14

15

16

17

18

19

20

21

22


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
